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                 IN THE UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT

AIR FORCE OFFICER,                              )
                                                )      Case No. 22-11200
                      Plaintiff-Appellee,       )
v.                                              )
                                                )
LLOYD J. AUSTIN, III, et al.,                   )
                                                )
                      Defendants-Appellees.     )

                        DECEMBER 2023 STATUS REPORT

         Pursuant to the Court’s August 24, 2022 Order, the parties hereby jointly

provide this status update:

       On December 11, 2023, in Doster v. Kendall, No. 23-154, the United States

         Supreme Court granted the government’s petition for certiorari, vacated the

         Sixth Circuit Court of Appeals’ judgment, and remanded to the Sixth Circuit

         with instructions to direct the United States District Court for the Southern

         District of Ohio to vacate as moot its preliminary injunctions.




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Dated: December 14, 2023


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